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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil case no. 11-cv-03238-RM-KMT

  SAMUEL M. WALKER, and
  DIANE H. WALKER,

         Plaintiffs,

  v.

  FRED WEGENER, individual and official capacity,
  BOBBI PRIESTLY, individual and official capacity,
  CINDY HARDEY, individual and official capacity,
  REBECCA BRAMLETT, individual and official capacity,
  AMY FRANCK, individual and official capacity,
  JUAN GALLEGOS, individual and official capacity,
  SGT BROWN, individual and official capacity,
  PARK COUNTY,
  JOHN TIGHE, individual and official capacity,
  DICK HODGES, individual and official capacity,
  MARK DOWALIBY, individual and official capacity,
  PARK COUNTY COMMISSIONERS,
  JOHN SUTHERS, individual and official capacity, and
  DEBRA MCLIMANS, individual and official capacity,

        Defendants.
  ______________________________________________________________________________

         ORDER ADOPTING RECOMMENDATION OF MAGISTRATE JUDGE
  ______________________________________________________________________________

         This matter is before the Court on the June 14, 2013 Recommendation of United States

  Magistrate Judge Kathleen M. Tafoya (the “Recommendation”) (ECF No. 67) that Defendant’s

  Motion for Summary Judgment be granted. The Recommendation is incorporated herein by

  reference. See 28 U.S.C. § 636(b)(1)(B); FED. R. CIV. P. 72(b).

         The Recommendation advised the parties that specific written objections were due within

  fourteen days after being served with a copy of the Recommendation. (ECF No. 67 at 14-15.)
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  Despite this advisement, no objections to the Magistrate Judge’s Recommendation have to date

  been filed by either party.

         The Court concludes that the Magistrate Judge’s analysis was thorough and sound, and

  that there is no clear error on the face of the record. See Fed. R. Civ. P. 72(b) advisory

  committee’s note (“When no timely objection is filed, the court need only satisfy itself that there

  is no clear error on the face of the record in order to accept the recommendation.”); see also

  Summers v. Utah, 927 F.2d 1165, 1167 (10th Cir. 1991) (“In the absence of timely objection, the

  district court may review a magistrate’s report under any standard it deems appropriate.”).

         In accordance with the foregoing, the Court ORDERS as follows:

  (1)    The Magistrate Judge’s Recommendation (ECF No. 67) is ADOPTED in its entirety;

  (2)    Defendants’ Motion for Summary Judgment (ECF No. 51) is GRANTED;

  Pursuant to 28 U.S.C. § 1915(a)(3), this Court further CERTIFIES that in forma pauperis status

  will be denied for the purposes of any and all appeals from this decision. If Plaintiffs file a notice

  of appeal they also must pay the full appellate filing fee or file a motion to proceed in forma

  pauperis in the United States Court of Appeals for the Tenth Circuit within 30 days of the court’s

  final order in accordance with FED. R. APP. P. 24.

         DATED this 6th day of January, 2014.

                                                         BY THE COURT:


                                                         ____________________________________
                                                         RAYMOND P. MOORE
                                                         United States District Judge
